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 1 PHILLIP A. TALBERT
   United States Attorney
 2 KERRY BLACKBURN
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:24-CR-00065 DAD

12                                 Plaintiff,            [PROPOSED] ORDER SEALING DOCUMENTS
                                                         AS SET FORTH IN GOVERNMENT’S NOTICE
13                          v.

14   ANTONIO VIGIL,
       AKA “NEGRO,”
15
                                  Defendant.
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18          Pursuant to Local Rule 141(b) and based upon the representation contained in the government’s
19 Request to Seal, IT IS HEREBY ORDERED that the government’s Response to Defendant Antonio

20 Vigil’s Motion for Bail Review pertaining to defendant Antonio Vigil , and government’s Request to

21 Seal shall be SEALED until further order of this Court.

22          It is further ordered that access to the sealed documents shall be limited to the government and
23 counsel for the defendant.

24          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court
25 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in

26 the government’s request, sealing the government’s motion serves a compelling interest. The Court
27 further finds that, in the absence of closure, the compelling interests identified by the

28 / / /


      [PROPOSED] ORDER SEALING DOCUMENTS AS SET           1
30    FORTH IN GOVERNMENT’S NOTICE
              Case 2:24-cr-00065-DAD Document 22 Filed 05/02/24 Page 2 of 2

 1 government would be harmed. In light of the public filing of its request to seal, the Court further finds

 2 that there are no additional alternatives to sealing the government’s motion that would adequately

 3 protect the compelling interests identified by the government.

 4 IT IS SO ORDERED.

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 6 Dated:      May 1, 2024
                                                       JEREMY D. PETERSON
 7                                                     UNITED STATES MAGISTRATE JUDGE
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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET          2
30    FORTH IN GOVERNMENT’S NOTICE
